db                       +Roger Allen Mills,    4021 Osprey Point,   Panama City, FL 32409-2129
cr                       +JPMorgan Chase Bank, National Association,    c/o Steven Gerald Powrozek,
                           Shapiro, Fishman & Gache, LLP,    4630 Woodland Corporate Blvd, Ste. 100,
                               Case
                           Tampa,     18-50307-KKS Doc 43 Filed 02/12/19 Page 1 of 25
                                  FL 33614-2429
cr                       +PACIFIC UNION FINANCIAL, LLC,    eXL Legal, PLLC,   12425 28th Street North,                        Suite 200,
                           St. Petersburg, FL 33716-1826


NONE.
                                                               United States Bankruptcy Court
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
                                                                                            TOTAL: 0
                                                                     Northern District of Florida
                   ***** BYPASSED RECIPIENTS *****
 In re
NONE.       Roger Allen Mills                                                                               Case No.    18-50307
                                                                                                                             TOTAL: 0
                                                                                  Debtor(s)                 Chapter     7
Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
                                             AMENDED AMENDMENT COVER SHEET
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
Amendment(s)  to the the
shown, and prepared  following   petition,
                         Certificate       list(s),
                                     of Notice  andschedule(s)    orand
                                                    that it is true  statement(s)
                                                                         correct toare
                                                                                    the transmitted  herewith: and belief.
                                                                                         best of my information
Schedules A/B, C, D, E, F & G (Amended schedules fi              filed to reflflect condition of
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
estate
Security as of date
         Number  (SSN)of
                       of conversion
                          the debtor(s) wastofurnished
                                               Chapter     7 parties
                                                       to all per Local
                                                                     listed. Rule   1019-1).
                                                                             This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 30, 2019                                                         Signature: /s/Joseph Speetjens
                                        NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES
_                                                               United States Bankruptcy Court
Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), I certify that notice of the filing of the amendment(s) listed above has
                                                       Northern District of Florida
been given this date to any and all entities
                                      CM/ECF affected by the amendment
                                                    NOTICE             as follows:
                                                                OF ELECTRONIC            FILING
    In re     Roger Allen Mills                                                                              Case No.   18-50307
                                                                                   Debtor(s)                 Chapter    7
The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February  12, 2019
          January 28,     2019 at the address(es) listed below:
Date: FebruaryAlejandro
                 7, 2019 Guillermo Martinez-Maldonado   /s/ Natashaon Z. Revell
                                                                         behalf of Creditor        PACIFIC UNION FINANCIAL, LLC
                                                        Natasha Z. Revell
                bk@exllegal.com
               Leigh D. Hart                   AMENDED AMENDMENT COVER SHEET
                                   on behalf of Trustee Leigh D. Hart ldhdock@earthlink.net,
                                                        Attorney for Debtor(s)
                ldhtre@earthlink.net;ldhadmin@earthlink.net
               Mary   W.  Colon                         Zalkin Revell,
                                   trustee@marycolon.com,                PLLC
                                                                    fl33@ecfcbis.com
Amendment(s) toNatasha
                 the following  petition,on
                          Z. Revell
                                          list(s), schedule(s)
                                              behalf of
                                                               or statement(s)
                                                           Debtor   Roger Allen
                                                                                are transmitted herewith:
                                                        2441  US Highway     98W Mills tasha@zalkinrevell.com,
Schedules A/B, C,  D, E, F & G   (Amended schedules
                krevell@zalkinrevell.com;tgordon@zalkinrevell.comfiled
                                                                 fi
                                                        Suiteof109
                                                                        to  refl
                                                                              flect   condition of estate as of
               Steven Gerald Powrozek           on behalf        Creditor      JPMorgan Chase Bank, National Association
date of conversion       to Chapter     7   per    Local  Rule    1019-1).
                                                        Santa Rosa Beach, FL 32459
                spowrozek@logs.com, electronicbankruptcynotices@logs.com
               Teresa M. Dorr        on behalf of Debtor(850) 267-2111    Fax:(866)
                                                                Roger Allen    Mills 560-7111
                                                                                       tdorr@zalkinrevell.com,
                tgordon@zalkinrevell.com                tasha@zalkinrevell.com
               United States Trustee           USTPRegion21.TL.ECF@usdoj.gov
                            NOTICE OF AMENDMENT(S) TO AFFECTED PARTIES TOTAL: 7
 Pursuant to Federal Rule of Bankruptcy Procedure 1009(a), I certify that notice of the filing of the amendment(s) listed above has
 been given this date to any and all entities affected by the amendment as follows:



    Date: February
          February 12, 2019
                    7, 2019                                             /s/ Natasha Z. Revell
                                                                        Natasha Z. Revell
                                                                        Attorney for Debtor(s)
                                                                        Zalkin Revell, PLLC
                                                                        2441 US Highway 98W
                                                                        Suite 109
                                                                        Santa Rosa Beach, FL 32459
                                                                        (850) 267-2111 Fax:(866) 560-7111
                                                                        tasha@zalkinrevell.com




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                                         Case 18-50307-KKS                               Doc 43          Filed 02/12/19          Page 2 of 25
 Fill in this information to identify your case and this filing:

 Debtor 1                    Roger Allen Mills
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF FLORIDA

 Case number            18-50307                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        4021 Osprey Point                                                              Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Panama City                       FL        32409-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $208,740.00                $208,740.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        Bay                                                                            Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Property was substantially damaged by Hurricane Michael in the
                                                                                estimated amount of $100,000.00; insurance company has provided a
                                                                                check for $98,000 issued to debtor and lender, which check has been sent
                                                                                to lender to be placed in escrow account for repairs. Value listed herein
                                                                                is from property appraiser and includes estimated value of house
                                                                                including escrowed insurance proceeds.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
                                        Case 18-50307-KKS                      Doc 43           Filed 02/12/19                Page 3 of 25
 Debtor 1        Roger Allen Mills                                                                                      Case number (if known)          18-50307

       If you own or have more than one, list here:
 1.2                                                                   What is the property? Check all that apply
       11 Blackhawk Circle                                                    Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       Murphy                            NC        28906-0000                 Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                    $110,710.00                     $110,710.00
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only                                   Fee simple
       Cherokee                                                               Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Value listed is from property appraiser. Property is damaged due to
                                                                       sitting vacant for extended period of time and requires approximately
                                                                       $20,000 in repairs.


       If you own or have more than one, list here:
 1.3                                                                   What is the property? Check all that apply
       Wyndham Vacation                                                       Single-family home                              Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                     the amount of any secured claims on Schedule D:
                                                                              Duplex or multi-unit building
                                                                                                                              Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative

                                                                              Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
                                                                              Land                                            entire property?              portion you own?
       City                              State              ZIP Code          Investment property                                        Unknown                        Unknown
                                                                              Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                              Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.
                                                                              Debtor 1 only
                                                                              Debtor 2 only
       County                                                                 Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              At least one of the debtors and another              (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
                                                                       Timeshare


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                        $319,450.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                      Schedule A/B: Property                                                                               page 2
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                                    Case 18-50307-KKS                            Doc 43           Filed 02/12/19            Page 4 of 25
 Debtor 1        Roger Allen Mills                                                                                  Case number (if known)       18-50307
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Dodge                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Ram 1500                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2010                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                 137500                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         NADA Average Value
         Truck was substantially                                     Check if this is community property                                $7,400.00                  $3,700.00
         damaged in the hurricane and                                (see instructions)

         value includes present
         damaged condition plus $5,600
         of insurance proceeds which
         are being utilized for repairs,
         including substantial body
         damage.


  3.2    Make:       Harley Davidson                           Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Triglide Ultra Classic                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2014                                            Debtor 2 only                                            Current value of the      Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Low retail value
                                                                     Check if this is community property                              $20,200.00                 $20,200.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

                     Boat with motor and
                                                                                                                              Do not deduct secured claims or exemptions. Put
  4.1    Make:       trailer                                   Who has an interest in the property? Check one
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:                                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:                                                       Debtor 2 only                                            Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
                                                                     Check if this is community property                              $7,100.00                    $7,100.00
                                                                     (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $31,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household Goods and Furnishings: see attachment                                                                                   $795.00

Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 3
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                                    Case 18-50307-KKS                Doc 43      Filed 02/12/19            Page 5 of 25
 Debtor 1       Roger Allen Mills                                                                   Case number (if known)     18-50307


                                    Household Goods and furnishings in NC property                                                               $1,515.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Electronics: see attachment                                                                                    $250.00


                                    Electronics in NC Property                                                                                     $130.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Fishing Poles and reels, bicycle                                                                               $275.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Debtor's clothing                                                                                              $100.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                       $3,065.00


 Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                        Current value of the
Official Form 106A/B                                   Schedule A/B: Property                                                                        page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                                           Case 18-50307-KKS                                      Doc 43                 Filed 02/12/19    Page 6 of 25
 Debtor 1          Roger Allen Mills                                                                                                 Case number (if known)   18-50307
                                                                                                                                                                portion you own?
                                                                                                                                                                Do not deduct secured
                                                                                                                                                                claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                Hancock Bank xxxx8969                                                       $2,205.84


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                    % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

                                                                                                  GE Retirement Savings Plan adminsterred by
                                                                                                  Fidelity Investment                                                     $272,237.32


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............              Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

Official Form 106A/B                                                                       Schedule A/B: Property                                                                   page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                       Best Case Bankruptcy
                                    Case 18-50307-KKS                    Doc 43       Filed 02/12/19         Page 7 of 25
 Debtor 1       Roger Allen Mills                                                                      Case number (if known)   18-50307

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                Beneficiary:                           Surrender or refund
                                                                                                                                     value:

                                         Term Life Insurance Policy with GE. No
                                         Cash Surrender value                                                                                           $0.00


                                         Term Life Insurance with VA, no cash
                                         surrender value                                                                                                $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........




Official Form 106A/B                                                 Schedule A/B: Property                                                             page 6
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                                         Case 18-50307-KKS                               Doc 43               Filed 02/12/19                     Page 8 of 25
 Debtor 1         Roger Allen Mills                                                                                                     Case number (if known)   18-50307
35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                $274,443.16


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $319,450.00
 56. Part 2: Total vehicles, line 5                                                                          $31,000.00
 57. Part 3: Total personal and household items, line 15                                                      $3,065.00
 58. Part 4: Total financial assets, line 36                                                                $274,443.16
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $308,508.16               Copy personal property total             $308,508.16

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $627,958.16




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 7
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                            United States Bankruptcy Court
                                        Northern District of Florida
                    In re Roger A. Mills                                            Case No.
                                                                                     Chapter 13
                                               AMENDED
                    HOUSEHOLD GOODS SHEET - Updated for Ch. 7
                               Florida Property

                                    Living Room - Value of Each Item
Desc. of Prop.                 1              2              3             4           5      Total Value
Couch(es) - lost                    $0.00                                                            $0.00
Bookcase(s) - lost (2)              $0.00         $0.00                                              $0.00
Desk(s)                                                                                              $0.00
Chair(s) - lost/damaged             $0.00                                                            $0.00
Table(s)                           $10.00     $10.00         $20.00                                 $40.00
Lamp(s)                             $5.00      $5.00                                                $10.00
Other:                                                                                               $0.00
                                                                                                     $0.00
                                                                                                     $0.00
                                                                                                     $0.00
                                                                                                     $0.00
                                                                                                     $0.00
                                                                                                     $0.00
                                                                                   TOTAL          $50.00




                                    Dining Room - Value of Each Item
Desc. of Prop.                 1              2              3             4           5      Total Value
Table(s)                           $20.00                                                           $20.00
Chair(s)                            $5.00         $5.00                                             $10.00
Lamp(s)                                                                                              $0.00
China Closet(s)                                                                                      $0.00
China                                                                                                $0.00
Silverware                                                                                           $0.00
Pictures                                                                                             $0.00
Other:                                                                                               $0.00
                                                                                                     $0.00
                                                                                                     $0.00
                                                                                                     $0.00
                                                                                                     $0.00
                                                                                                     $0.00
                                                                                                     $0.00
                                                                                                     $0.00
                                                                                   TOTAL          $30.00
                Case 18-50307-KKS       Doc 43        Filed 02/12/19       Page 10 of 25


                                    Household Goods Sheet
                                 Bedrooms - Value of Each Item
Desc. of Prop.             1              2               3            4           5       Total Value
Bed(s) (2 lost)                 $0.00      $30.00             $0.00                              $30.00
Chair(s)                                                                                          $0.00
Dresser(s) (1 lost)             $0.00      $20.00         $30.00                                 $50.00
Chest(s) of Drawers                                                                               $0.00
Desk(s)                                                                                           $0.00
Mirror(s)                                                                                         $0.00
Lamp(s)                         $5.00         $5.00       $10.00                                 $20.00
Vanity(s)                                                                                         $0.00
Night Stands (2 lost)           $0.00         $0.00       $10.00       $10.00                    $20.00
                                                                                                  $0.00
                                                                                                  $0.00
                                                                                                  $0.00
                                                                                                  $0.00
                                                                                                  $0.00
                                                                                                  $0.00
                                                                                                  $0.00
                                                                                                  $0.00
                                                                                TOTAL        $120.00




                                   Kitchen - Value of Each Item
Desc. of Prop.             1              2               3            4           5       Total Value
Table(s) (lost)                                                                                   $0.00
Chair(s) (lost)                                                                                   $0.00
Microwave(s)                $30.00                                                               $30.00
Refrigerator(s)            $150.00                                                             $150.00
Deep Freezer(s)                                                                                   $0.00
Dishwasher-Built In                                                                               $0.00
Washing Machine(s)             $50.00                                                            $50.00
Dryer(s)                       $40.00                                                            $40.00
Stove(s)-Built In                                                                                 $0.00
Dishes                         $20.00                                                            $20.00
Cookware                       $20.00                                                            $20.00
Other:                                                                                            $0.00
                                                                                                  $0.00
                                                                                                  $0.00
                                                                                                  $0.00
                                                                                                  $0.00
                                                                                                  $0.00
                                                                                                  $0.00
                                                                                                  $0.00
                                                                                TOTAL        $310.00
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              Other Rooms (Hallways, Bathrooms, Garage, Attic, Basement, Shed etc.)
                                       Value of Each Item
Desc. of Prop.                    1                 2                3                4               5   Total Value
Desk(s) (lost - 2)                                                                                               $0.00
Chair(s)                              $20.00        $10.00                                                      $30.00
Game Table(s)                                                                                                    $0.00
Sewing Machine(s) (lost)               $0.00                                                                     $0.00
Vac. Cleaner(s)                       $10.00                                                                    $10.00
Iron(s)                                $5.00                                                                     $5.00
Air Conditioner(s)                                                                                               $0.00
Tool(s)                           $100.00                                                                     $100.00
Power Tool(s)                      $30.00           $15.00           $10.00            $40.00                   $95.00
Lawn Mower(s)                      $20.00                                                                       $20.00
Other:                                                                                                           $0.00
bookcase (2 lost)                      $0.00            $0.00                                                    $0.00
Bench (lost)                           $0.00                                                                     $0.00
Lamps                                 $10.00        $10.00               $5.00                                  $25.00
                                                                                                                 $0.00
                                                                                                                 $0.00
                                                                                                TOTAL       $285.00



                              VALUE OF HOUSEHOLD GOODS                                                     $795.00



                                               Electronics-Value of Each Item
Desc. of Property                 1                 2                3                4               5   Total Value
Television (lost 2)                $50.00               $0.00            $0.00                                  $50.00
Stereo (lost)                       $0.00                                                                        $0.00
Radio (lost)                        $0.00                                                                        $0.00
VCR/DVD                            $10.00                                                                       $10.00
Computer                           $25.00                                                                       $25.00
Camera                              $5.00                                                                        $5.00
Cell Phones                       $100.00                                                                     $100.00
Tablets, etc.                                                                                                    $0.00
                                                                                                                 $0.00
                                                                                                                 $0.00
                                                                                                                 $0.00
                                                                                                TOTAL       $190.00



                      Date:    2/6/2019                         Signature:       /s/ Roger A. Mills
                                                                                 Roger A. Mills
                                                                                 Debtor
                  Case 18-50307-KKS           Doc 43       Filed 02/12/19     Page 12 of 25


                            United States Bankruptcy Court
                                          Northern District of Florida
                  In re Roger A. Mills                                                Case No.
                                                                                       Chapter 13

                                  HOUSEHOLD GOODS SHEET
                                    North Carolina Property

                                    Living Room - Value of Each Item
Desc. of Prop.               1                 2             3           4              5      Total Value
Couch(es)                    $100.00            $30.00                                             $130.00
Bookcase(s)                                                                                           $0.00
Desk(s)                                                                                               $0.00
Chair(s)                                                                                              $0.00
Table(s)                         $10.00        $10.00         $20.00                                 $40.00
Lamp(s)                           $5.00         $5.00                                                $10.00
Other:                                                                                                $0.00
                                                                                                      $0.00
                                                                                                      $0.00
                                                                                                      $0.00
                                                                                                      $0.00
                                                                                                      $0.00
                                                                                                      $0.00
                                                                                     TOTAL          $180.00




                                    Dining Room - Value of Each Item
Desc. of Prop.               1                 2             3           4              5      Total Value
Table(s)                         $20.00                                                              $20.00
Chair(s)                          $5.00            $5.00         $5.00       $5.00                   $20.00
Lamp(s)                                                                                               $0.00
China Closet(s)                                                                                       $0.00
China                                                                                                 $0.00
Silverware                                                                                            $0.00
Pictures                                                                                              $0.00
Bar Stools                       $10.00        $10.00                                                $20.00
                                                                                                      $0.00
                                                                                                      $0.00
                                                                                                      $0.00
                                                                                                      $0.00
                                                                                                      $0.00
                                                                                                      $0.00
                                                                                                      $0.00
                                                                                     TOTAL           $60.00
               Case 18-50307-KKS          Doc 43       Filed 02/12/19    Page 13 of 25




                                  Household Goods Sheet
                                Bedrooms - Value of Each Item
Desc. of Prop.          1                  2             3          4              5     Total Value
Bed(s)                      $20.00          $25.00       $10.00                                $55.00
Chair(s)                                                                                        $0.00
Dresser(s)                                                                                      $0.00
Chest(s) of Drawers         $25.00         $15.00         $10.00                               $50.00
Desk(s)                                    $15.00                                              $15.00
Mirror(s)                    $5.00                                                              $5.00
Lamp(s)                      $5.00             $5.00                                           $10.00
Vanity(s)                                                                                       $0.00
Night Stands                $10.00                                      $5.00                  $15.00
                                                                                                $0.00
                                                                                                $0.00
                                                                                                $0.00
                                                                                                $0.00
                                                                                                $0.00
                                                                                                $0.00
                                                                                                $0.00
                                                                                                $0.00
                                                                                TOTAL      $150.00




                                     Kitchen - Value of Each Item
Desc. of Prop.          1                  2             3          4              5     Total Value
Table(s)                 $40.00                                                                $40.00
Chair(s)                  $5.00                                                                 $5.00
Microwave(s)             $50.00                                                                $50.00
Refrigerator(s)         $150.00                                                              $150.00
Deep Freezer(s)                                                                                 $0.00
Dishwasher                                                                                      $0.00
Washing Machine(s)          $30.00                                                             $30.00
Dryer(s)                    $30.00                                                             $30.00
Stove(s)                    $50.00                                                             $50.00
Dishes                      $20.00                                                             $20.00
Cookware                    $20.00                                                             $20.00
Other:                                                                                          $0.00
                                                                                                $0.00
                                                                                                $0.00
                                                                                                $0.00
                                                                                                $0.00
                                                                                                $0.00
                                                                                                $0.00
                                                                                                $0.00
                                                                                TOTAL      $395.00
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           Other Rooms (Hallways, Bathrooms, Garage, Attic, Basement, Shed etc.)
                                   Value of Each Item
Desc. of Prop.              1                 2              3            4               5   Total Value
Desk(s)                                                                                              $0.00
Chair(s)                        $20.00        $10.00                                                $30.00
Game Table(s)                                                                                        $0.00
Sewing Machine(s)                                                                                    $0.00
Vac. Cleaner(s)                 $10.00                                                              $10.00
Iron(s)                                                                                              $0.00
Air Conditioner(s)                                                                                   $0.00
Tool(s)                     $250.00                                                               $250.00
Power Tool(s)               $100.00                                                               $100.00
Lawn Mower(s)                                                                                        $0.00
bookcase                     $15.00                                                                 $15.00
Bench                        $25.00                                                                 $25.00
Riding mower                $250.00                                                               $250.00
Freezer stand up             $30.00                                                                 $30.00
Drill press                  $20.00                                                                 $20.00
                                                                                                     $0.00
                                                                                   TOTAL        $730.00



                        VALUE OF HOUSEHOLD GOODS                                              $1,515.00



                                         Electronics-Value of Each Item
Desc. of Property           1                 2              3            4               5   Total Value
Television                      $50.00         $40.00                                               $90.00
Stereo                          $25.00                                                              $25.00
Radio                            $5.00                                                               $5.00
VCR/DVD                         $10.00                                                              $10.00
Computer                                                                                             $0.00
Camera                                                                                               $0.00
Cell Phones                                                                                          $0.00
Tablets, etc.                                                                                        $0.00
                                                                                                     $0.00
                                                                                                     $0.00
                                                                                                     $0.00
                                                                                   TOTAL        $130.00



                Date:
                         2/7/19
                         10/5/2018                      Signature:   /s/ Roger A. Mills
                                                                     Roger A. Mills
                                                                     Debtor
                                  Case 18-50307-KKS                        Doc 43        Filed 02/12/19             Page 15 of 25
 Fill in this information to identify your case:

 Debtor 1                 Roger Allen Mills
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF FLORIDA

 Case number           18-50307
 (if known)
                                                                                                                                          Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2010 Dodge Ram 1500 137500 miles                                $3,700.00                                  $1,000.00     Fla. Stat. Ann. § 222.25(1)
      NADA Average Value
      Truck was substantially damaged in                                                   100% of fair market value, up to
      the hurricane and value includes                                                     any applicable statutory limit
      present damaged condition plus
      $5,600 of insurance proceeds which
      are being utilized for repairs,
      including substantial body damage.
      Line from Schedule A/B: 3.1

      2010 Dodge Ram 1500 137500 miles                                $3,700.00                                  $2,700.00     Fla. Stat. Ann. § 222.25(4)
      NADA Average Value
      Truck was substantially damaged in                                                   100% of fair market value, up to
      the hurricane and value includes                                                     any applicable statutory limit
      present damaged condition plus
      $5,600 of insurance proceeds which
      are being utilized for repairs,
      including substantial body damage.
      Line from Schedule A/B: 3.1

      Household Goods and Furnishings:                                    $795.00                                   $30.00     Fla. Stat. Ann. § 222.25(4)
      see attachment
      Line from Schedule A/B: 6.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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                                  Case 18-50307-KKS                        Doc 43        Filed 02/12/19             Page 16 of 25
 Debtor 1    Roger Allen Mills                                                                           Case number (if known)     18-50307
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Household Goods and furnishings in                                $1,515.00                                   $515.00        Fla. Stat. Ann. § 222.25(4)
     NC property
     Line from Schedule A/B: 6.2                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Household Goods and furnishings in                                $1,515.00                                 $1,000.00        Fla. Const. art. X, § 4(a)(2)
     NC property
     Line from Schedule A/B: 6.2                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Electronics: see attachment                                         $250.00                                   $250.00        Fla. Stat. Ann. § 222.25(4)
     Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Electronics in NC Property                                          $130.00                                   $130.00        Fla. Stat. Ann. § 222.25(4)
     Line from Schedule A/B: 7.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Fishing Poles and reels, bicycle                                    $275.00                                   $275.00        Fla. Stat. Ann. § 222.25(4)
     Line from Schedule A/B: 9.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Debtor's clothing                                                   $100.00                                   $100.00        Fla. Stat. Ann. § 222.25(4)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Hancock Bank xxxx8969                                   $2,205.84                                 $2,205.84        Fla. Stat. Ann. § 222.11(2)(c)
     Line from Schedule A/B: 17.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     GE Retirement Savings Plan                                      $272,237.32                                      100%        Fla. Stat. Ann. § 222.21(2)
     adminsterred by Fidelity Investment
     Line from Schedule A/B: 21.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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                                     Case 18-50307-KKS                       Doc 43          Filed 02/12/19              Page 17 of 25
 Fill in this information to identify your case:

 Debtor 1                   Roger Allen Mills
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF FLORIDA

 Case number           18-50307
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Chase Mortgage                           Describe the property that secures the claim:               $123,089.00               $110,710.00           $13,041.00
         Creditor's Name                          11 Blackhawk Circle Murphy, NC
                                                  28906 Cherokee County
                                                  Value listed is from property
                                                  appraiser. Property is damaged due
                                                  to sitting vacant for extended period
         Attn: Case Research &                    of time and requires approximately
         Bankruptcy                               $20,000 in repairs.
                                                  As of the date you file, the claim is: Check all that
         PO Box 24696                             apply.
         Columbus, OH 43224                           Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

                                 Opened
                                 08/06 Last
                                 Active
 Date debt was incurred          8/01/18                   Last 4 digits of account number        6323


         Harley Davidson
 2.2                                                                                                            $14,444.00               $20,200.00                     $0.00
         Financial                                Describe the property that secures the claim:
         Creditor's Name                          2014 Harley Davidson Triglide Ultra
                                                  Classic
         Attn: Bankruptcy                         Low retail value
                                                  As of the date you file, the claim is: Check all that
         PO Box 22048                             apply.
         Carson City, NV 89721                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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 Debtor 1 Roger Allen Mills                                                                                   Case number (if known)   18-50307
               First Name                  Middle Name                      Last Name



    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
                                 05/14 Last
 Date debt was incurred          Active 08/18                Last 4 digits of account number         2500


 2.3     Pacific Union Financial                    Describe the property that secures the claim:                   $270,217.00         $208,740.00     $61,477.00
         Creditor's Name                            4021 Osprey Point Panama City, FL
                                                    32409 Bay County
                                                    Property was substantially
                                                    damaged by Hurricane Michael in
                                                    the estimated amount of
                                                    $100,000.00; insurance company
         Attn: Bankruptcy                           has provided a check for $98,000
         1603 LBJ Freeway, Suite                    issued to debtor and lender, which
         500                                        check
                                                    As of the date you file, the claim is: Check all that
         Farmers Branch, TX                         apply.
         75234                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 Opened
                                 01/15 Last
                                 Active
 Date debt was incurred          5/31/17                     Last 4 digits of account number         8577


         Wyndham Vacation
 2.4                                                                                                                 $14,035.00           Unknown         Unknown
         Ownership                                  Describe the property that secures the claim:
         Creditor's Name                            Wyndham Vacation
                                                    Timeshare
         Attn: Bankruptcy
                                                    As of the date you file, the claim is: Check all that
         PO Box 98940                               apply.
         Las Vegas, NV 89193                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 3
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                                  Case 18-50307-KKS                      Doc 43         Filed 02/12/19              Page 19 of 25

 Debtor 1 Roger Allen Mills                                                                        Case number (if known)         18-50307
              First Name                Middle Name                    Last Name


                              Opened
                              12/22/09
                              Last Active
 Date debt was incurred       02/18                       Last 4 digits of account number   2347



   Add the dollar value of your entries in Column A on this page. Write that number here:                          $421,785.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                         $421,785.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

        Name, Number, Street, City, State & Zip Code                                        On which line in Part 1 did you enter the creditor?   2.4
        Pinnacle
        PO Box 130848                                                                       Last 4 digits of account number
        Carlsbad, CA 92013

        Name, Number, Street, City, State & Zip Code                                        On which line in Part 1 did you enter the creditor?   2.4
        Wyndham Vacation Ownership, Inc.
        10750 W. Charleston Blvd.                                                           Last 4 digits of account number
        Las Vegas, NV 89135




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                             page 3 of 3
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                                    Case 18-50307-KKS                         Doc 43           Filed 02/12/19                 Page 20 of 25
 Fill in this information to identify your case:

 Debtor 1                   Roger Allen Mills
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF FLORIDA

 Case number            18-50307
 (if known)
                                                                                                                                                          Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.
 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          American Express                                        Last 4 digits of account number         2833                                                      $11,337.00
              Nonpriority Creditor's Name
              Correspondence/Bankruptcy                                                                       Opened 06/05 Last Active
              PO Box 981540                                           When was the debt incurred?             8/02/18
              El Paso, TX 79998
              Number Street City State ZIp Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                           Contingent
                  Debtor 2 only                                           Unliquidated
                  Debtor 1 and Debtor 2 only                              Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                     Other. Specify   Credit Card




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 4
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 Debtor 1 Roger Allen Mills                                                                              Case number (if known)         18-50307

 4.2      Barclays Bank Delaware                                     Last 4 digits of account number       8027                                           $11,105.00
          Nonpriority Creditor's Name
          Attn: Correspondence                                                                             Opened 12/09 Last Active
          PO Box 8801                                                When was the debt incurred?           03/18
          Wilmington, DE 19899
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.3      Capital One                                                Last 4 digits of account number       4616                                             $8,152.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 03/00 Last Active
          PO Box 30285                                               When was the debt incurred?           06/15
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.4      Jerry Wilson's Roofing, LLC                                Last 4 digits of account number                                                        $3,000.00
          Nonpriority Creditor's Name
          1705 Alabama Ave.                                          When was the debt incurred?
          Lynn Haven, FL 32444
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Roof repairs




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 4
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 Debtor 1 Roger Allen Mills                                                                              Case number (if known)          18-50307

 4.5       Synchrony Bank/Care Credit                                Last 4 digits of account number       6886                                                     $1,232.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy Dept                                                                           Opened 11/11 Last Active
           PO Box 965061                                             When was the debt incurred?           8/09/18
           Orlando, FL 32896
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.6       US Bank/RMS CC                                            Last 4 digits of account number       7677                                                   $17,140.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                                                                Opened 09/14 Last Active
           PO Box 5229                                               When was the debt incurred?           05/18
           Cincinnati, OH 45201
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 American Express                                              Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 297871                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Fort Lauderdale, FL 33329
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Barclays Bank Delaware                                        Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 8803                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19899
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Bank                                              Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 15000 Capital One Drive                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Richmond, VA 23238
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Pollack & Rosen, P.A.                                         Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 806 Douglas Rd.                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 South Tower, Suite 200
Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 3 of 4
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 Debtor 1 Roger Allen Mills                                                                              Case number (if known)          18-50307

 Coral Gables, FL 33134
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Synchrony Bank/Care Credit                                    Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 950 Forer Blvd.                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Kettering, OH 45420
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Bank                                                       Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 4325 17th Ave. S                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Fargo, ND 58125
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                    51,966.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                    51,966.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 4 of 4
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 Fill in this information to identify your case:

 Debtor 1                  Roger Allen Mills
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF FLORIDA

 Case number           18-50307
 (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Wyndham Vacation Ownership, Inc.                                           Timeshare contract
               10750 W. Charleston Blvd.
               Las Vegas, NV 89135




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                                                               United States Bankruptcy Court
                                                                     Northern District of Florida
 In re      Roger Allen Mills                                                                               Case No.   18-50307
                                                                                   Debtor(s)                Chapter    7




                                                      AMENDED
                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                        I declare under penalty of perjury that I have read the foregoing Schedules A/B, C, D, E, F & G, consisting
            of    23
                   35     page(s), and that they are true and correct to the best of my knowledge, information, and belief.




 Date February
      February 12, 2019
                7, 2019                                                Signature   /s/ Roger Allen Mills
                                                                                   Roger Allen Mills
                                                                                   Debtor

    Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                     18 U.S.C. §§ 152 and 3571.




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